


  In a proceeding pursuant to CPLR article 78 to review three determinations of the Planning Board of the Town of Ramapo, all dated December 27, 2011, which granted the applications of the respondent Scenic Development, LLC, for subdivision and site plan approval of the subject property, the petitioner appeals from a judgment of the Supreme Court, Rockland County (Walsh II, J.), dated September 10, 2012, which denied the petition and dismissed the proceeding.
 

  Ordered that the appeal is dismissed as academic, without costs or disbursements.
 

  This appeal has been rendered academic by the determinations of the respondent Planning Board of the Town of Ramapo dated March 22, 2013, granting the applications of the respondent Scenic Development, LLC, for final subdivision and site plan approval of the subject property. Since the issues raised herein have been addressed on the appeals in Matter of Bodin v Planning Bd. of Town of Ramapo (155 AD3d 721 [2017] [decided herewith]) and Matter of Shapiro v Planning Bd. of Town of Ramapo (155 AD3d 741 [2017] [decided herewith]), the exception to the mootness doctrine does not apply (see City of New York v Maul, 14 NY3d 499, 507 [2010]; Matter of Hearst Corp. v Clyne, 50 NY2d 707, 714 [1980]; see also Matter of Veronica P. v Radcliff A., 24 NY3d 668, 671 [2015]; Matter of Aloya v Planning Bd. of Town of Stony Point, 93 NY2d 334 [1999]).
 

  Leventhal, J.P., Austin, Cohen and Duffy, JJ., concur.
 
